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                                                                   June 8, 2021


     Honorable Ann M. Donnelly
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, New York 11201



                    Re:     United States v. Robert Kelly, 19-286 (S-1)(AMD)


     Dear Judge Donnelly:

             On behalf of myself and Mr. Leonard, we respectfully request leave to withdraw
     our appearances as counsel of record in this matter. While we realize that this request
     comes close to trial - and although we are ready to proceed to trial as scheduled in August
     - our reasons for withdrawal are significant and it is impossible, in our belief, for us to be
     able to continue to properly represent Mr. Kelly under the current circumstances. If the
     Court deems it necessary, we are willing to serving as effective stand-by counsel.

            The government was advised of our position and reasons in a phone call.

            We are requesting that the Court set our request for hearing.

            Thank you for your consideration.


                                                           Respectfully submitted,

                                                           /s/ Steve Greenberg

                                                           Steven A. Greenberg
